Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 1 of 12




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   (Fort Lauderdale Division)



  DREAM CLUBS ENTERTAINMENT, INC.,
  A Florida corporation doing business
  as Ballz                                                        CASE NO.:
                               Plaintiff,

  vs.

  CITY OF WILTON MANORS, a Florida
  Municipal Corporation,
                          Defendant
  ________________________________________/



              COMPLAINT FOR DECLARATORY JUDGMENT AND DAMAGES

  Plaintiff, DREAM CLUBS ENTERTAINMENT, INC., files this Complaint against the CITY OF

  WILTON MANORS, pursuant to 42 U.S.C. 1983, seeking judgment that the applicable Code of

  Ordinances of the City of Wilton Manors, and policy selectively have been unconstitutionally

  applied and enforced against it in violation of the First, Forth, Fourteenth Amendments of the

  United States Constitution, and further demands judgment for damages against the Defendant for

  violation of federal and state law for its losses arising from the unconstitutional application, actions

  and enforcement of the City’s laws and policies, and tortious conduct against the Plaintiff.

                                            JURISDICTION


        1. This suit is made pursuant to 42 U.S.C. §1983:


                 “Every person who, under color of any statute, ordinance, regulation, custom, or

                 usage, of any State or Territory or the District of Columbia, subjects or causes to be

                 subjected, any citizen of the United States or other person within the jurisdiction

  Page 1 of 12                                                   The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 2 of 12



                 thereof to the deprivation of any rights, privileges, or immunities secured by the

                 Constitution and laws, shall be liable to the party injured in an action at law, suit I

                 equity, or other proper proceeding for redress…”


     2. This Court has “federal question” jurisdiction pursuant to 28 U.S.C. § 1331 to hear cases

         arising under the Constitution of the United States, under 28 U.S.C. §1343(3) to redress

         the deprivation under color of state law of any, right, privilege or immunity secured by

         the Constitution, and under 28 U.S.C. 1343(4) to secure equitable or other relief for the

         protection of civil rights.

     3. This Court has authority to issue declaratory judgments pursuant to 28 U.S.C. §§2201,

         and Rule 65, Fed R. Civ. P.

     4. This Court has supplemental jurisdiction over Plaintiff’s State law claims pursuant to 28

         U.S.C. § 1367.

     5. This Court may enter an award of attorney’s fees and costs pursuant to 42 U.S.C. § 1988.

     6. Plaintiff seeks declaratory relief and damages for injury by way of Defendant’s

         violations, under color of state law, of the Plaintiff’s civil rights, privileges and

         immunities secured by the First, Forth, and Fourteenth Amendments to the Constitution

         of the United States, and enforced under Title 42 U.S.C. §§ 1983, and 1988.

     7. This action seeks a judicial determination of rights and liabilities between the Parties

         which require a resolution of bona fide disputes and questions arising from acts and

         omissions by the City of Wilton Manors against the Plaintiff, pursuant to local ordinances

         and/or statements of policy made under color and authority of state law.




  Page 2 of 12                                                   The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 3 of 12



                                               VENUE

     8. Venue is proper in the Southern District of Florida, Fort Lauderdale Division as all acts

         omissions by the City of Wilton Manors arise under the ordinances and enforcement in

         the City within the geographical district designated under the Fort Lauderdale Division.


                                             PARTIES


     9. DREAM CLUBS ENTERTAINMENT, INC., a Florida corporation doing business as

         Ballz, located at 2031 Wilton Drive, Wilton Manors, Florida 33305.

     10. DEFENDAT, City of Wilton Manors is a Florida municipal corporation, organized and

         operating under the laws of the State of Florida. Hereinafter referred to, together with all

         of its departments, agents, officials, and employees, including Code Compliance and,

         police, and fire departments, as (“Wilton Manors”)



                                        COLOR OF STATE LAW

     11. As a formed and organized political subdivision of the State of Florida, the Defendant

         WILTON MANORS acted under color of state law.

                                       FACTUAL BACKGROUND

     12. Plaintiff owns and operates a Go-Go Bar in the neighboring town of Fort Lauderdale that

         caters primarily to adult gay men. The successful business model includes live

         entertainment, music, dancing, and socializing, and in particular features attractive adult

         males dancing on stage in their underwear or bathing suits- occasionally performing

         choreographed numbers with a group of dancers. There is never nudity displayed in any

         way or manor, and the entertainment is no more provocative than what one would

         typically expect to see at a public beach or viewed on modern underwear television


  Page 3 of 12                                                The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 4 of 12



         commercials. Plaintiff has a wide and popular reputation among the Florida gay

         community, as well as the general community, as a business owner specializing in gay

         entertainment establishments featuring Go-Go dancers.

     13. Wilton Manors was familiar with this popular good reputation maintained by the

         Plaintiff.

     14. Plaintiff avers that the male body is a thing of beauty and imparts artistic form in dance

         and expression of physical talent and human eroticism while performing with music,

         theater lighting to entertain an audience. This form of free human expression

         communicated to the public provides and important social benefit involving appreciation

         of healthy views of human sexuality, and society’s concepts of aesthetic physical beauty.

     15. The free expression offered by Plaintiff’s businesses is not intended to be obscene, and is

         nowhere defined as such current under current laws, or perceived as such by

         contemporary community standard. These performances are presumptively protected

         under the First Amendment of the Constitution of the United States. The Plaintiff has a

         clear right to such expression of free speech described hereinabove.

     16. The Defendant objected to this form of protected expression even before Plaintiff’s doors

         were open.

     17. On numerous occasions, Roberta Moore who is the Director of Community Development

         threatened and warned Plaintiff that Wilton Manors does not want a male go-go bar on

         Wilton Drive. He was told do not try to put a male go-go bar on Wilton Drive. It will get

         shut down.

     18. It is not so much that Plaintiff’s business was geared for the gay community on Wilton

         Drive since 90% of the businesses there are owned and operated by gay citizens catering




  Page 4 of 12                                                The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 5 of 12



         to gay customers, but presumably the opposition by Wilton Manors was that Plaintiff’s

         business was too stereotypically gay.

     19. The Defendant got it completely wrong in the first place. Plaintiff advised Wilton

         Manors that he had no intention of opening a gay oriented go-go bar on Wilton Drive

         because he operates a very successful go-go bar just a few miles (five minutes away)

         down the road in neighboring Fort Lauderdale - and it would adversely affect his core

         source of revenue.

     20. Plaintiff’s business plan for this location was in fact aimed at diversifying its holdings by

         providing a unique sports bar for the gay community to include televisions broadcasting

         various sports channels, and an atmosphere that encouraged the customers to participate

         in singing and dancing in a manner inspired by the movie Coyote Ugly.

     21. By their actions, the Defendant’s made it very difficult and otherwise delayed a

         straightforward permitting process for over four months.

     22. Plaintiff, and Plaintiff’s counsel, having done business in the area for decades and having

         never seen city officials dragging feet and creating pre-textual obstacles to approval of a

         simple business license, believe Wilton Manors was in fact out to harm Plaintiff by

         increasing his costs of opening the business by dragging out its approval process

         unreasonably long in bad faith.

     23. After the long delay to garner the city’s approval, Plaintiff opened his business with a

         great a response from the community. However, his success was soon met on the second

         day of business with the police arriving, with flashing lights in front of the club together

         with the fire department, Dave Cameron, from Code Enforcement Officer, and Roberta

         Moore, without warrant, or complaint to make a warrantless inspection of the premises




  Page 5 of 12                                                The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 6 of 12



         even though it had received approval from the city and fire department 15days earlier.

         The Plaintiff was once again threatened by those from the city that go-go boys were not

         permitted and will not be permitted in the future. Each department and official proceeded

         to re-inspect the premises looking for pretextual violations.

     24. The harassment did not stop with that initial visit. Indeed, the police barged into the

         premises, with flashing lights out front, often times with fire department personnel, on

         nearly a nightly basis typically at the peak of Plaintiff’s busiest hour of business.

     25. This relentless nightly harassment continued for four months straight. It would not take a

         marketing or reputation expert to conclude that such nightly appearances in front of a

         busy nightclub with all the appearances and trappings of a “police raid” would swiftly

         snuff out any alcohol beverage serving entertainment business no matter how popular the

         owner is. Nearly every customer expressed a belief that the business was being harassed.

     26. The police interruption worsened during the first quarter of 2016, and culminated in April

         2016 with the police and fire department entering the premises to inspect to merely

         advise the Plaintiff that plastic tinting was not permitted on the windows.

     27. The Defendant never gave notice of code violations, or complaints, never fined Plaintiff,

         never obtained warrants to search Plaintiff’s premises, but every intrusion had all the

         typical signs of a mere pretext and excuse to actually harass, intimidate, and drive away

         customers for the sole purpose of forcing the Plaintiff out of business.




  Page 6 of 12                                                 The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 7 of 12



                                               COUNT I
                   (Violation of Substantive and Procedural Due Process as Applied)

     28. Plaintiff realleges the facts set forth in paragraphs 1 through 27 and incorporates them

         herein by reference.

     29. This is an action for declaratory and supplemental relief pursuant to 28 U.S.C §2201.

     30. Plaintiff has a clear legal right to provide the entertainment described above to consenting

         adults customers without fear of retaliatory conduct and selective enforcement by Wilton

         manors. Such The Plaintiff’s right of such communication is protected by the First

         Amendment to the United States Constitution. Furthermore, government intrusion and

         actions to enforce local laws must afford due process to Plaintiff as with similarly

         situated businesses.

     31. The Defendant’s course of conduct amounted to an unjustified deprivation of property

         devoid of notice or opportunity to be heard. To this degree Defendant failed to follow

         any reasonable structure or procedure to make the Plaintiff aware of the City’s policy or

         procedure which would be required to remedy a violation prior to its actions. In fact

         there was essentially no structure or procedure in the City’s conduct attacking Plaintiff’s

         business in such a manner other than aimed to kill business.

     32. There were no exigent circumstances present giving rise to the City’s conduct.

             a. The building had been recently inspected by City compliance officers, and fire

                 safety officials with no violations noted.

             b. No City officer had probable cause to believe that Plaintiff’s building was out of

                 compliance to make daily inspections or intrusions. There is no evidence that any

                 Officer had a reasonable suspicion that Plaintiff’s building possessed code

                 violations or its business was operating illegally.



  Page 7 of 12                                                 The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 8 of 12



             c. Plaintiff’s interior Plans were then recently approved by the City.

             d. No City official ever mentioned either orally or in writing that Plaintiff’s Building

                  or business fell outside of its rules and regulations, other than to remind Plaintiff

                  repeatedly that they did not like the idea of a go-go dancer bar.

     33. In this context, the Due Process Clause requires there be hearing and opportunity to be

         heard after a deprivation when exigent circumstances exist, as well as pre-deprivation

         notice to be made aware of and opportunity to cure violations. The material fact is that

         no violations existed or were articulated to Plaintiff nor was a hearing and opportunity

         afforded to Plaintiff prior to the systematic nightly deprivation of it business revenue

         leaving Plaintiff’s business to the mercy of free-for-all discretion of the City’s ulterior

         will.

     34. The actions of Wilton manors caused Plaintiff to suffer significant damages by way of

         loss of its investment, loss of profits and irreparable harm and erosion of its good will.



         WHEREFORE, Plaintiff prays for the following relief:

           A. That this Court take jurisdiction over the Parties to this cause;

           B. That the Court declare that the defeat of the plaintiff’s business and closure

                 pursuant to Defendant’s direct and indirect actions violated the Due Process Clause

                 of Constitution;

           C. That the Court enter a judgment against Defendant for compensatory damages;

           D. That the Court award Plaintiff its recoverable costs, including reasonable attorney’s

                 fees pursuant to 42 U.S.C. §1988; and




  Page 8 of 12                                                  The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 9 of 12



           E. That the Court award Plaintiff all other relief in law or equity to which the Court

                 finds just and fit.


                                                  COUNT II
                                       (Violation of First Amendment)


     35. Plaintiff realleges the facts set forth in paragraphs 1 through 27 and incorporates them

         herein by reference.

     36. This is an action for declaratory and supplemental relief pursuant to 28 U.S.C §2201.

     37. While the Defendant may claim to operate under its laws and ordinances, which tend to

         be on their face laws of general application, Defendant systematically enforced such

         laws, in an intentionally discriminatory fashion to retaliate against and punish the

         Plaintiff based on the content of its free speech and expression in a clear attempt to render

         the feasibility of his business impossible. In other words, Wilton Manors intended to and

         did extinguish the Plaintiff’s business carrying out its distain of a go-go bar on Wilton

         Drive.

     38. Even if the City’s Ordinances and laws used to close down Plaintiff’s business are

         constitutional on its face, Defendant applied such laws in such a manner to deprive

         Plaintiff of its First Amendment rights clearly abusing its discretion.

     39. These alleged facts were a mere pretext to the City’s bent on ousting Plaintiff based upon

         the content of his free speech.

     40. The course of conduct by the City amounts to prior restraint on Plaintiff’s free speech.

     41. There was no mechanism for Plaintiff to seek redress for this style of City action to

         deprive Plaintiff of its rights.




  Page 9 of 12                                                 The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 10 of 12



      42. There was no prior notice of the enforcement actions taken by the City, no administrative

          determinations afforded, nor judicial review during the entire course of the Plaintiff’s

          deprivation.

          WHEREFORE, Plaintiff prays for the following relief:

            A.       That this Court take jurisdiction over the Parties to this cause;

            B. That the Court declare that the defeat of the plaintiff’s business and closure

                   pursuant to Defendant’s direct and indirect actions violated the First Amendment of

                   Constitution as applied to the Plaintiff;

            C. That the Court enter a judgment against Defendant for compensatory damages;

            D. That the Court award Plaintiff its recoverable costs, including reasonable attorney’s

                   fees pursuant to 42 U.S.C. §1988; and

            E. That the Court award Plaintiff all other relief in law or equity to which the Court

                   finds just and fit.


                                                   COUNT III
                                         (Violation of Equal Protection)

      43. Plaintiff realleges the facts set forth in paragraphs 1 through 27 and incorporates them

          herein by reference.

      44. This is an action for declaratory and supplemental relief pursuant to 28 U.S.C §2201.

      45. The Plaintiff has a clear right to operate its business whether it intended it to be a go-go

          bar or an otherwise conventional establishment without fear of selective enforcement of

          laws by the Defendant.

      46. There are no specific laws prohibiting the Plaintiff’s actual or perceived business of

          models of either male go-go bar style of entertainment or other common style.




   Page 10 of 12                                                   The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 11 of 12



      47. The Defendant has intentionally enforced ordinances and policy against Plaintiff in an

          intentional and discriminatory fashion because Defendant objected to the content of

          Plaintiff’s speech.

      48. The efforts by the City were intended to stifle the content of Plaintiff’s speech veiled by

          the legitimacy of the City Code.

      49. Other commercial establishments similarly situated offered live entertainment, singing

          dancing, live music, live stage performances, and such and cannot be distinguished

          between Plaintiff’s by their business purpose, size, location, composition of the

          community’s demographics, or other social factors.

      50. The only exception which differentiates the Plaintiff from all these businesses is that of

          its reputation for providing a male go-go dancer theme for the enjoyment of their

          customers and gues

      51. Simply put, the City’s code compliance personnel, fire safety, and police do not make

          intense and selective intrusions into any other similarly situated business establishment

          on Wilton Drive.

      52. Operating under otherwise valid and proper laws to achieve an unlawful purpose is

          merely pretextual in nature and served to single out Plaintiff, to deny its rights to free

          speech, and ultimately deprive it of its property to permanently close the business down.

      53. This selective enforcement of the City Code and laws violated the Plaintiff’s right of

          Equal Protection.




   Page 11 of 12                                                The Law Offices of George Castrataro, PA
Case 0:18-cv-62635-WPD Document 1 Entered on FLSD Docket 11/01/2018 Page 12 of 12



          WHEREFORE, Plaintiff prays for the following relief:

            A. That this Court take jurisdiction over the Parties to this cause;

            B. That the Court declare that selective enforcement of City laws against the Plaintiff

                   and its eventual closure pursuant to Defendant’s direct and indirect actions violated

                   was pretextual and violated the Equal Protection Clause of Fourteenth Amendment

                   of Constitution as applied to the Plaintiff;

            C. That the Court enter a judgment against Defendant for compensatory damages;

            D. That the Court award Plaintiff its recoverable costs, including reasonable attorney’s

                   fees pursuant to 42 U.S.C. §1988; and

            E. That the Court award Plaintiff all other relief in law or equity to which the Court

                   finds just and fit.


   Respectfully submitted on this 31st day of October, 2018.




                                                            /s/ George Castrataro
                                                            George Castrataro, MPH, JD
                                                            FL Bar# 0027575
                                                            The Law Offices of George Castrataro, PA
                                                            707 NE 3rd Ave
                                                            Suite 300
                                                            Fort Lauderdale, FL 33304
                                                            954-573-1444 Office
                                                            954-573-6451 Fax




   Page 12 of 12                                                  The Law Offices of George Castrataro, PA
